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                      Exhibit S
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12

13
                                 UNITED STATES DISTRICT COURT
14
                  NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION
15

16
     APPLE INC., a California corporation,         Case No.   11-cv-01846-LHK
17
                          Plaintiff,               EXHIBIT S TO THE
18                                                 DECLARATION OF TERRY L.
            v.                                     MUSIKA
19
     SAMSUNG ELECTRONICS CO., LTD., a
20   Korean business entity; SAMSUNG
     ELECTRONICS AMERICA, INC., a New York
21   corporation; SAMSUNG
     TELECOMMUNICATIONS AMERICA, LLC, a
22   Delaware limited liability company,
23                        Defendants.
24
                                 MANUAL FILING NOTIFICATION
25

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     EXHIBIT S 11-cv-01846-LHK
     sf-3153145
     Case 5:11-cv-01846-LHK Document 991-20 Filed 05/31/12 Page 3 of 3



 1          Regarding:      EXHIBIT S to the DECLARATION OF Terry L. Musika
 2

 3         This filing is in paper or physical form only, and is being maintained in the case file in the
 4   Clerk’s office. If you are a participant on this case, this filing will be served in hard-copy shortly.
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14   _____ Conformance with the Judicial Conference Privacy Policy (General Order 53)
15   _____ Other (description):
16

17   Dated: May 31, 2012                            MORRISON & FOERSTER LLP
18

19                                                  By: /s/ Michael Jacobs
                                                          Michael Jacobs
20
                                                            Attorneys for Plaintiff
21                                                          APPLE INC.
22

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     EXHIBIT S 11-cv-01846-LHK                                                                              1
     sf-3153145
